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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA


         V.

                                                     CRIMINAL NO.LO-14-186
 RICHARD BYRD,
    a/k/a Robert Smith




                    Defendant.




                                 FINAL ORDER OF FORFEITURE


       Before the Court is the United States' Motion for a Final Order ofForfeiture. On November

2, 2016, the Court entered a Preliminaiy Order of Forfeiture, ECF No. 382 (the "Preliminary

Order"), forfeiting all ofthe Defendant's right, title, and interest in the following property:

              1. Cash/Currency in lieu of 2010 Can AM Spyder Motorcycle, AZ Registration
                    62L6MC VIN# 2BXJADA16AV000230(16-DEA-618577);

              2.. Cash/Currency in lieu of 2007 Mercedes S550, CA Registration 6MTF429
                    VIN#WDDNG71X47A032840(16-DEA-618578);

              3. Cash/Currency in lieu of 2007 Mercedes S550, AZ Registration AMC7192
                 VIN#WDDNG71X17A044685(16-DEA-618579);

              4. Cash/Currency in lieu of 2008 Mercedes CLS550, CA Registration 6NWK853
                 VIN#WDDDJ72X28A129550(16-DEA-618580);

              5. S252.52 U.S. Currency seized from Robert Smith's Bank of America account
                    #349417137(16-DEA-618582);

              6. S4,241.41 U.S. Currency seized from Robert Smith's Wells Fargo account
                    #101030-9466606(16-DEA-618583);

              7.     $18,000.00 U.S. Currency seized from the 2002 Chevrolet Suburban
                   ,(16-DEA-618581);
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